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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
____________________________________
MANUEL LOPEZ, JR., on behalf                  )
of himself and all others similarly situated, ) Case 16-cv-2539
                                              )
               Plaintiff,                     )
                                              ) Judge John Z. Lee
       v.                                     ) Magistrate Judge Mary Rowland
                                              )
                                              )
HALSTED FINANCIAL SERVICES, LLC )
FIRST FINANCIAL INVESTMENT FUND)
HOLDINGS, LLC and FIRST FINANCIAL )
PORTFOLIO SERVICES, LLC.                      ) JURY DEMAND
                                              )
               Defendants.                    )
____________________________________)

_________________________________________________________________
                              NOTICE OF MOTION
TO: ECF Service List
       PLEASE TAKE NOTICE that on January 23, 2019, at 9:00 a.m., we shall appear before
the Honorable Judge John Z. Lee, United States District Court, Courtroom 1225, 219 South
Dearborn Street, Chicago, Illinois, and then and there present the attached MOTION TO
WITHDRAW, which was filed with the ECF system for the Northern District of Illinois.

                                            Respectfully submitted,
                                             /s/ Michael Karnuth
                                            Keith J. Keogh
                                            Michael Karnuth
                                            KEOGH LAW, LTD.
                                            55 West Monroe, Suite 3390
                                            Chicago, IL 60603
                                            (312) 726-1092
                                            (312) 726-1093 (fax)
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                                CERTIFICATE OF SERVICE

        I, Michael Karnuth, an attorney, certify that on January 16, 2019, I caused the foregoing
Notice of Motion regarding the Motion to Withdraw as Counsel to be electronically filed with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to
all counsel of record at their e-mail addresses on file with the Court.

                                                    s/ Michael Karnuth
